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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION

JARROD JOHNSON, individually, and           )
on Behalf of a Class of persons similarly   )
situated,                                   )
                                            )
                   Plaintiff,               )
                                            )
      v.                                    )
                                            )
3M COMPANY; ALADDIN                         )
MANUFACTURING CORPORATION;                  )
AMERICHEM, INC.; ARROWSTAR,                 )
LLC; CHEM-TECH FINISHERS, INC.;             )
COLOR EXPRESS, INC.; COLUMBIA               )
RECYCLING CORP.; CYCLE TEX,                 )
INC.; THE CITY OF DALTON,                   )
GEORGIA, acting through its BOARD               Civil Action No. 4:20-cv-0008-AT
                                            )
OF WATER, LIGHT AND SINKING                 )   TRIAL BY JURY REQUESTED
FUND COMMISSIONERS, d/b/a                   )
DALTON UTILITIES;                           )   Complaint – Class Action
DALTON/WHITFIELD REGIONAL                   )
SOLID WASTE AUTHORITY;                      )
DYSTAR, LP; E.I. DU PONT DE                 )
NEMOURS AND COMPANY;                        )
ENGINEERED FLOORS, LLC; FIBRO               )
CHEM, LLC; GREEN VULTURE,                   )
LLC; IMACC CORPORATION; J&S                 )
RUG COMPANY, INC. D/B/A LOG                 )
CABIN COMPANY; JB NSD, INC.;                )
MFG CHEMICAL, LLC; MILLIKEN &               )
COMPANY; MOHAWK CARPET,                     )
LLC; MOHAWK INDUSTRIES, INC.;               )
ORIENTAL WEAVERS, USA, INC.;                )
PSG-FUNCTIONAL MATERIALS,                   )
LLC D/B/A PEACH STATE LABS;
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SECOA TECHNOLOGY, LLC; SHAW                        )
INDUSTRIES, INC.; SHAW                             )
INDUSTRIES GROUP, INC.;                            )
TARKETT USA, INC.; THE                             )
CHEMOURS COMPANY; and THE                          )
DIXIE GROUP, INC.,                                 )
                                                   )
                      Defendants.

    SECOND AMENDED INDVIDUAL AND CLASS ACTION COMPLAINT
       Plaintiff Jarrod Johnson, individually, and on behalf of a class of other persons

similarly situated, files this Second Amended Individual and Class Action

Complaint as of right 1 against Defendants, and alleges as follows:

                             STATEMENT OF THE CASE

       1.     This is an individual action on behalf of Plaintiff Jarrod Johnson,

pursuant to Section 505(a)(1) of the federal Clean Water Act (“CWA” or “Act”), 33

U.S.C. § 1365(a)(1), to address ongoing unlawful pollution of surface waters by

discharges of toxic per- and polyfluoroalkyl substances (“PFAS”) from Defendant

The City of Dalton, Georgia, acting through its Board of Water, Light and Sinking

Fund Commissioners, d/b/a Dalton Utilities (“Dalton Utilities”) and from industrial

users who discharge these chemicals into the Dalton Utilities Publicly Owned



1
  See Doc. # 192. The purpose of this Second Amended Complaint is to: (1) correct misnomers as
to previously named Defendants Dalton Utilities, The Water, Light and Sinking Fund Commission
of the City of Dalton, Georgia, and Dalton-Whitfield Solid Waste Authority; and (2) clarify which
Defendants Plaintiff asserts his claim of Negligence Per Se (Count Four) against.
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Treatment Works (“POTW”). As a result of unauthorized discharges by industrial

users, Dalton Utilities has discharged and continues to discharge PFAS from its

Riverbend Wastewater Land Application System (“Riverbend LAS” or “LAS”) to

the Conasauga River and its tributaries without a permit authorizing such discharges

in violation of Section 301(a) of the CWA, 33 U.S.C. § 1311(a). One of those

industrial users, Defendant Dalton/Whitfield Regional Solid Waste Authority

(“DWSWA”) has discharged, and continues to discharge, dangerously high levels

of PFAS into the Dalton POTW, where these chemicals resist treatment and cause

Pass Through resulting in their exit from the Riverbend LAS in violation of Dalton

Utilities’ Sewer Use Rules and Regulations and Section 307(d) of the Act, 33 U.S.C.

§ 1317(d). These toxic and persistent chemicals then travel downstream and

contaminate the Oostanaula River, the source of the City of Rome, Georgia’s

domestic water supply, as well as other surface waters within the Upper Coosa River

Basin. Plaintiff seeks a declaratory judgment, injunctive relief, the imposition of

civil penalties, and an award of costs, including attorney and expert witness fees, for

these Defendants’ repeated and ongoing violation of the CWA.

      2.     This is a class action on behalf of individual Plaintiff and Class

Representative Jarrod Johnson and a class of people similarly situated under Fed. R.

Civ. P. 23 and Georgia law who have been damaged and continue to be damaged

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due to the intentional, willful, wanton, reckless, and negligent discharge of PFAS

from Defendants’ manufacturing processes and facilities into the Dalton POTW. By

such wrongful acts and omissions, Defendants have created and maintained a

continuing public nuisance causing harm and injury to the Plaintiff and the Members

of the proposed Class.

      3.    Plaintiff and Members of the proposed Class are owners and occupants

of property in Rome, Georgia (sometimes referred to herein as “Rome”) and Floyd

County, Georgia, who are provided domestic water service through the Rome Water

and Sewer Division (“RWSD”) or the Floyd County Water Department (“FCWD”),

which purchases water from the City of Rome. Rome uses a water intake on the

Oostanaula River as its primary water source, and the water undergoes treatment at

the Bruce Hamler Water Treatment Facility prior to distribution to the public. As a

direct and proximate result of the past and present discharges of PFAS by

Defendants into the Conasauga River and its tributaries, thereby also impacting the

Oostanaula River, Plaintiff and Members of the proposed Class have been, and

continue to be, subjected to drinking water contaminated with dangerous levels of

PFAS.

      4.    Defendants own and/or operate manufacturing or other facilities related

to the carpet industry and have in the past and/or currently use PFAS as part of

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manufacturing processes or otherwise supply PFAS to Defendants’ manufacturing

facilities. These carpet manufacturing facilities are upstream of Rome’s water intake,

in or near the City of Dalton, Georgia. Defendants use PFAS at their manufacturing

facilities to impart water, stain, and/or grease resistance to their carpet and other

textile products, or otherwise process PFAS at their facilities. Industrial wastewater

discharged from Defendants’ manufacturing facilities into the City of Dalton’s

POTW contains high levels of PFAS, which resist degradation during treatment

processing at Dalton Utilities’ wastewater treatment facilities and thus contaminate

the Conasauga River, the Oostanaula River, the Coosa River and other tributaries

and watersheds in the Upper Coosa River basin.

      5.     Defendants’ discharges of PFAS have contaminated surface waters in

the Upper Coosa River basin, including, but not limited to, the Conasauga River and

the Oostanaula River, which is the source the water that supplies Rome’s water

intake. Defendants’ PFAS cannot be removed adequately from the Oostanaula River

by the existing and/or emergency water treatment processes and technologies in use

at the Bruce Hamler Water Treatment Facility in Rome.

      6.     As a result of the Defendants’ intentional, willful, wanton, reckless, and

negligent acts and omissions and the nuisance thereby created, maintained, and

continued, Plaintiff and Proposed Class Members have suffered damages different

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in kind and degree from the damage suffered by the public in general as a result of

Defendants’ discharges of toxic chemicals, including compensatory and

consequential damages. Plaintiff and Proposed Class Members are also seeking

equitable and injunctive relief to compel the Defendants to remediate and cease the

spread of toxic PFAS into the Conasauga and Oostanaula Rivers and their water

supplies. In addition, based on the Defendants’ intentional, willful, wanton, reckless,

malicious, and oppressive misconduct, Plaintiffs are seeking recovery of punitive

damages.

                             JURISDICTION AND VENUE

      7.     This Court has subject matter jurisdiction over the CWA claims set

forth in this Amended Complaint pursuant to Section 505(a) of the CWA, 33 U.S.C.

§ 1365(a), and 28 U.S.C. § 1331.

      8.     Plaintiff has complied with the pre-suit notice provisions of the CWA.

Pursuant to Section 505(b)(1)(A) of the CWA, 33 U.S.C. § 1365(b)(1)(A), Plaintiff,

on June 24, 2020, mailed a notice of intent to file suit under the CWA to Defendant

The City of Dalton, Georgia, acting through its Board of Water, Light and Sinking

Fund Commissioners and Dalton Utilities, the Administrator of the U.S.

Environmental Protection Agency (“EPA”), the Regional Administrator of the EPA,

the Georgia Department of Natural Resources’ Environmental Protection Division


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(“EPD”), and the United States Attorney General [(“June Notice”) Attached hereto

as Exhibit “A” and incorporated by reference herein]. Plaintiff, on June 26, 2020,

mailed a notice of intent to file suit under the CWA to Defendant Dalton/Whitfield

Regional Solid Waste Authority, the Administrator of the EPA, the Regional

Administrator of the EPA, the EPD, and the United States Attorney General [(“June

Notice”) Attached hereto as Exhibit “B” and incorporated by reference herein].

These Notices complied with 33 U.S.C. § 1365(b)(1)(A) and with 40 C.F.R. Part

135, Subpart A. More than 60 days have passed since the June Notices were served

on Defendant Dalton Utilities, Defendant DWSWA, and these agencies.

      9.    Neither EPA nor EPD has commenced and is diligently prosecuting a

civil or criminal action in a court of the United States or State to redress the

violations of the CWA by Defendant Dalton Utilities or Defendant DWSWA. In

addition, neither EPA nor EPD has commenced an administrative civil penalty

action under Section 309(g)(6) of the Act, 33 U.S.C. § 1319(g)(6), or under a

comparable Georgia law, to redress the violations of the CWA by Dalton Utilities or

DWSWA. Even if EPD has commenced an administrative action to address these

violations, Georgia’s water pollution enforcement scheme is not comparable to the

provisions of the CWA. See, e.g., Leakey v. Corridor Materials, LLC, 839 F.Supp.2d

1340, 1350 (M.D. Ga. 2012).

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      10.    Plaintiff has also, pursuant to Section 505(b)(1)(A) of the CWA, 33

U.S.C. § 1365(b)(1)(A), served notices of intent to file suit under the CWA, as well

as supplemental notices, to (1) Defendant Dalton Utilities and (2) other Defendants

named herein who have discharged industrial wastewater containing PFAS into the

Dalton POTW. Plaintiff is considering whether, once the 60-day notice period under

33 U.S.C. § 1365(b)(1)(A) expires, to add the CWA claims contained in Count Two

of this Second Amended Complaint against these Defendants, and intends to amend

to add additional CWA violations against Dalton Utilities.

      11.    Plaintiff will, immediately upon receipt of a file-stamped copy of this

Second Amended Complaint, mail a copy to the Administrator of the EPA, the

Regional Administrator of the EPA, and the Attorney General of the United States.

      12.    Venue is appropriate in the Northern District of Georgia, pursuant to

Section 505(c)(1) of the CWA, 33 U.S.C. § 1365(c)(1), because the sources of the

violations of the Act alleged herein are located within this judicial district.

      13.    This Court has jurisdiction over the state law claims in this action in

accordance with 28 U.S.C. § 1332(d)(2)(A), because it is a class action in which any

member of a class of plaintiffs is a citizen of a State different from any Defendant,

and the amount in controversy exceeds the sum of five million dollars ($5,000,000),

exclusive of interest and costs.

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      14.    Venue is also properly in this Court pursuant to 28 U.S.C. § 1391(b),

because Defendants have conducted substantial business in this District, and

Defendants have caused harm to Plaintiff and to Class Members residing in this

District. In addition, Plaintiff and Class Members reside in this District, and a

substantial part of the events or omissions giving rise to their claims occurred in the

Northern District of Georgia.

                                     PARTIES

      15.    Plaintiff Jarrod Johnson is a resident of Floyd County, Georgia and

resides at 13 South Ivy Ridge Road, Rome, Georgia 30161. Plaintiff is a customer

of the RWSD, which uses water from the Oostanaula River as the source of

Plaintiff’s domestic water supply, which has been and continues to be contaminated

with PFAS discharged from Defendants’ carpet manufacturing or related processes,

including waste disposal operations, and, ultimately, from Dalton Utilities’

Riverbend LAS.

      16.    Plaintiff receives his domestic water supply and drinking water from

the RWSD, and thus has a particular interest in protecting the water quality of the

Conasauga River and its tributaries in and around, and downstream from, the

Riverbend LAS, as well as that of the downstream Oostanaula River. Plaintiff has

been, and will continue to be, directly and substantially injured in his use and

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enjoyment of his property as a direct result of Dalton Utilities and DWSWA’s

violations of the Act, and the contamination of the Rome water supply in particular.

The relief sought in this case would provide redress for Plaintiff’s injuries, and

because these injuries are being caused by pollution of waters of the United States,

the injuries fall within the zone of interests protected by the CWA.

       17.     Plaintiff is a “citizen” within the meaning of 33 U.S.C. §§ 1365(g) and

1365(a).

       18.     Defendant 3M Company (“3M”) is a foreign corporation authorized to

do business in the State of Georgia and, at all times relevant hereto, was conducting

business in this District. Among other acts and omissions, Defendant 3M has for

many years manufactured and supplied PFAS to one or more of the Defendants in

this action.

       19.     Defendant Aladdin Manufacturing Corporation (“Aladdin”) is a foreign

corporation authorized to do business in the State of Georgia, and, at all times

relevant hereto, has conducted business in this District. Defendant Aladdin is the

owner and operator of multiple facilities that manufacture carpet and various floor

products, including the Mohawk – Antioch Production Facility located at 2001

Antioch Road, Dalton, Georgia 30721, which has discharged industrial wastewater

containing PFAS into the Dalton POTW.

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      20.      Defendant Americhem, Inc. (“Americhem”) is a foreign corporation

authorized to do business in the State of Georgia and, at all times relevant hereto,

has conducted business within this District. Defendant Americhem is the owner and

operator of a carpet and synthetic fibers manufacturing facility located at 1015

Abutment Road, Dalton, Georgia, 30721, which has discharged industrial

wastewater containing PFAS into the Dalton POTW.

      21.      Defendant ArrowStar, LLC (“ArrowStar”) is a domestic limited

liability company that, at all times relevant hereto, has conducted business within

this District. Defendant ArrowStar is the owner and operator of multiple facilities

that manufacture, distribute, and sell PFAS, including sales and distribution offices

located at 1815 Hamilton Street, Dalton, Georgia and 2890 Five Springs, Road,

Dalton, Georgia, and which have sold PFAS to one or more Defendants in this

action.

      22.      Defendant Chem-Tech Finishers, Inc. (“Chem-Tech”) is a domestic

corporation that, at all times relevant hereto, has conducted business within this

District. Defendant Chem-Tech is the owner and operator of a carpet dying, drying,

and finishing facility located at 1904 South Hamilton Street, Dalton, Georgia, 30720,

which has discharged industrial wastewater containing PFAS into the Dalton

POTW.

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      23.    Defendant Color Express, Inc. (“Color Express”) is a domestic

corporation that, at all times relevant hereto, has conducted business within this

District. Defendant Color Express is the owner and operator of a carpet and rug

dyeing facility located at 711 North Glenwood Avenue, Dalton, Georgia, 30721,

which has discharged industrial wastewater containing PFAS into the Dalton

POTW.

      24.    Defendant Columbia Recycling Corp. (“Columbia Recycling”) is a

domestic corporation that, at all times relevant hereto, has conducted business within

this District. Defendant Columbia Recycling is the owner and operator of a carpet

fiber recycling facility locate at 1001 Chattanooga Avenue, Dalton, Georgia, 30720,

which has discharged industrial wastewater containing PFAS into the Dalton

POTW.

      25.    Defendant Cycle Tex, Inc. (“Cycle Tex”) is a domestic corporation that,

at all times relevant hereto, has conducted business within this District. Defendant

Cycle Tex is the owner and operator of a thermoplastics recycling facility located at

111 West Westcott Way, Dalton, Georgia 30720, which has discharged industrial

wastewater containing PFAS into the Dalton POTW.

      26.    Defendant The City of Dalton, Georgia, acting through its Board of

Water, Light and Sinking Fund Commissioners, d/b/a Dalton Utilities (“Dalton

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Utilities”) is a municipal corporation organized under the laws of the State of

Georgia, owning and operating a municipal utility whose principal office is located

at 1200 V.D. Parrot Jr. Parkway, Dalton, Georgia, 30722-0869. Dalton Utilities

operates the Dalton POTW, consisting of various wastewater collection and

treatment facilities and the associated 9,800-acre Riverbend Wastewater LAS.

      27.   Defendant Dalton Utilities is a “person” within the meaning of 33

U.S.C. §§ 1362(5) and 1365(a)(1).

      28.   Defendant     Dalton/Whitfield   Regional    Solid   Waste    Authority

(“DWSWA”) is an enterprise fund created by the City of Dalton and Whitfield

County, Georgia in 1994 to manage the solid waste needs of Dalton – Whitfield

County. The DWSWA operates, among other facilities, the Old Dixie Highway

Landfill, and a Carpet Landfill, both of which are located at 4189 Old Dixie Highway

SE in Dalton, Georgia, 30721. The DWSWA has for many years discharged landfill

leachate containing PFAS, which is industrial wastewater, into the Dalton POTW,

and in early 2013, the DWSWA installed a forced sewer main to send its landfill

leachate directly to the Dalton POTW.

      29.   Defendant DWSWA is a “person” within the meaning of 33 U.S.C. §§

1362(5) and 1365(a)(1).




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      30.    Defendant Dystar, LP (“Dystar”) is a foreign limited partnership

authorized to do business in the State of Georgia and, at all times relevant hereto,

has conducted business within this District. Defendant Dystar is the owner and

operator of a textile chemical manufacturing facility located at 2474 Abutment Road,

Dalton, Georgia 30721, which has discharged industrial wastewater containing

PFAS into the Dalton POTW.

      31.    Defendant E.I. du Pont de Nemours and Company (“Dupont”) is a

foreign corporation authorized to do business in the State of Georgia and, at all times

relevant hereto, has conducted business in this District. Among other acts and

omissions, Defendant DuPont has manufactured and supplied PFAS to one or more

of the Defendants in this action.

      32.    Defendant Engineered Floors, LLC (“Engineered Floors”) is a

domestic limited liability company that, at all times relevant hereto, has conducted

business within this District. Defendant Engineered Floors is the owner and operator

of multiple carpet manufacturing and finishing facilities located in and around

Dalton, Georgia, which have discharged industrial wastewater containing PFAS into

the Dalton POTW.

      33.    Defendant Fibro Chem, LLC (“Fibro Chem”) is a domestic limited

liability company that, at all times relevant hereto, has conducted business within

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this District. Defendant Fibro Chem is the owner and operator of a dye, lubricant,

and specialty chemicals formulation and manufacturing facility located at 1521 East

Walnut Avenue, Dalton, Georgia 30721, which has discharged industrial wastewater

containing PFAS into the Dalton POTW.

      34.    Defendant Green Vulture, LLC (“Green Vulture”) is a domestic limited

liability company that, at all times relevant hereto, has conducted business within

this District. Defendant Green Vulture is the owner and operator of a post-consumer

carpet recycling and manufacturing facility located at 1205 Royal Drive, Dalton,

Georgia 30720, which has discharged industrial wastewater containing PFAS into

the Dalton POTW.

      35.    Defendant IMACC Corporation (“IMACC”) is a foreign corporation

authorized to do business in the State of Georgia and, at all times relevant hereto,

has conducted business within this District. Defendant IMACC is the owner and

operator of an industrial plastic recycling and reconditioning facility located at 2303

Dalton Industrial Court, Dalton, Georgia 30721, which has discharged industrial

wastewater containing PFAS into the Dalton POTW.

      36.    Defendant JB NSD, Inc. (“JBNSD”) is a domestic corporation that, at

all times relevant hereto, has conducted business within this District. Defendant

JBNSD is the owner and operator of a tank washing facility located at 2200

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Abutment Road, Dalton, Georgia 30721, which has discharged industrial wastewater

containing PFAS into the Dalton POTW.

      37.    Defendant J&S Rug Company, Inc. d/b/a Log Cabin Company (“Log

Cabin” or “J&S”) is a domestic corporation that, at all times relevant hereto, has

conducted business within this District. Defendant Log Cabin is the owner and

operator of a carpet and rug manufacturing facility located at 1001 Poly Pac Drive,

Dalton, Georgia, 30721, which has discharged industrial wastewater containing

PFAS into the Dalton POTW.

      38.    Defendant MFG Chemical, LLC (“MFG”) is a foreign limited liability

company authorized to do business in the State of Georgia and, at all times relevant

hereto, has conducted business within this District. Defendant MFG is the owner and

operator of three (3) chemical manufacturing facilities located in and around Dalton,

Georgia, which have discharged industrial wastewater containing PFAS into the

Dalton POTW.

      39.    Defendant Milliken & Company (“Milliken”) is a foreign corporation

authorized to do business in the State of Georgia and, at all times relevant hereto,

has conducted business within this District. Defendant Milliken is the owner and

operator of multiple specialty chemicals, floor covering, and textile manufacturing

facilities located in and around Dalton, Georgia.

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      40.   Defendant Mohawk Carpet, LLC (“Mohawk Carpet”) is a foreign

limited liability company authorized to do business in the State of Georgia and, at

all times relevant hereto, has conducted business within this District. Defendant

Mohawk Carpet is the owner and operator of multiple floor covering and carpet

manufacturing facilities located in and around Dalton, Georgia, which have

discharged industrial wastewater containing PFAS into the Dalton POTW.

      41.   Defendant Mohawk Industries, Inc. (“Mohawk Industries”) is a foreign

corporation authorized to do business in the State of Georgia and, at all times

relevant hereto, has conducted business within this District. Defendant Mohawk

Industries is the owner and operator of multiple floor covering and carpet

manufacturing facilities located in and around Dalton, Georgia, which have

discharged industrial wastewater containing PFAS into the Dalton POTW.

      42.   Defendant Oriental Weavers U.S.A., Inc. (“Oriental”) is a domestic

corporation that, at all times relevant hereto, has conducted business within this

District. Defendant Oriental is the owner and operator of multiple carpet and area

rug manufacturing facilities located in and around Dalton, Georgia, which have

discharged industrial wastewater containing PFAS into the Dalton POTW.

      43.   Defendant PSG-Functional Materials, LLC d/b/a Peach State Labs

(“Peach State”) is a foreign limited liability company authorized to do business in

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the State of Georgia and, at all times relevant hereto, has conducted business within

this District. Defendant Peach State is the owner and operator of a specialty chemical

manufacturing facility located at 1202 Dozier Street, Dalton, Georgia 30721, which

has discharged industrial wastewater containing PFAS into the Dalton POTW.

      44.    Defendant Secoa Technology, LLC (“Secoa”) is a domestic limited

liability company that, at all times relevant hereto, has conducted business within

this District. Defendant Secoa is the owner and operator of an industrial coatings and

metal finishing manufacturing facility located at 1202 Dozier Street, Dalton, Georgia

30721, which has discharged industrial wastewater containing PFAS into the Dalton

POTW.

      45.    Defendant Shaw Industries, Inc. is a domestic corporation and a

wholly-owned subsidiary of Shaw Industries Group, Inc. (collectively, “Shaw

Industries”) and, at all times relevant hereto, has conducted business within this

District. Defendant Shaw Industries is the owner and operator of multiple facilities

located in and around Dalton, Georgia, which manufacture, coat, and dye carpets,

rugs, and other soft surface products and which have discharged industrial

wastewater containing PFAS into the Dalton POTW.

      46.    Defendant Tarkett USA, Inc. (“Tarkett USA”) is a foreign corporation

authorized to do business in the State of Georgia and, at all times relevant hereto,

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has conducted business within this District. Defendant Tarkett USA is the owner

and operator of multiple carpet, fiber, yarn and dye manufacturing, recycling, and

finishing facilities located in and around Dalton, Georgia, which have discharged

industrial wastewater containing PFAS into the Dalton POTW.

      47.    Defendant The Chemours Company (“Chemours”) is a foreign

corporation authorized to do business in the State of Georgia and, at all times

relevant hereto, was conducting business in this District. Among other acts and

omissions, Defendant Chemours has manufactured and supplied PFAS to one or

more of the Defendants in this action.

      49.    Defendant The Dixie Group, Inc. (“Dixie”) is a foreign corporation

authorized to do business in the State of Georgia and, at all times relevant hereto,

was conducting business in this District. Defendant Dixie is the owner and operator

of carpet and textile manufacturing facilities located in and around Dalton, Georgia.

                          FACTUAL ALLEGATIONS

Background and Hazards of PFAS
      50.    Over 90% of the world’s carpet comes from manufacturing plants in

and around Dalton, Georgia—the “Carpet Capital of the World.” Most of the

Defendants are owners and operators of these carpet manufacturing plants and

related facilities, and use and have used PFAS in the manufacturing of carpet and


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associated processes. Other Defendants are the suppliers of PFAS to these facilities,

and Defendants Dalton Utilities and DWSWA receive the PFAS-contaminated

waste from the carpet industry in Dalton.

      51. PFAS are a large group of man-made chemicals that do not occur

naturally in the environment. Due to their strong carbon-fluorine bonds, PFAS are

extremely stable and repel both oil and water and are resistant to heat and chemical

reactions. As a result of these properties, PFAS have a wide variety of industrial

and commercial applications, and a large percentage of PFAS produced worldwide

are used to treat carpets, rugs, and other home textiles to confer stain, soil, water

and/or oil resistance.

      52.    The stable carbon-fluorine bonds that make PFAS such pervasive

industrial and consumer products also result in their persistence in the environment.

There is no known environmental breakdown mechanism for these chemicals, and

they are readily absorbed into biota and tend to bioaccumulate with repeated

exposure. PFAS leach from soil to groundwater, are highly mobile and water

soluble, making groundwater and surface water particularly vulnerable to

contamination, and a major source of human exposure to PFAS is through ingestion

of contaminated drinking water.




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      53.   Perfluorooctanoic Acid (“PFOA”) and Perfluorooctanesulfonic Acid

(“PFOS”) are the most studied PFAS chemicals and, while they have been largely

phased out by industry, they are persistent and still remain in the environment,

including at the LAS. PFOA and PFOS have been replaced by substitute PFAS,

including Short-Chain PFAS.

      54.   When humans ingest PFAS, they bind to plasma proteins in the blood

and are readily absorbed by and distributed throughout the body. The liver and

kidneys are important binding and processing sites for PFAS, resulting in

physiologic changes to these and other organs. Because of strong carbon-fluorine

bonds, PFAS are stable to metabolic degradation, resistant to biotransformation, and

have long half-lives in the body. These toxic chemicals accumulate in the body and

cause long-term physiologic alterations and damage to the blood, liver, kidneys,

immune system, and other organs. For instance, PFOS crosses the placenta in

humans, accumulates in amniotic fluid, and has been detected in the umbilical cord

blood of babies.

      55.   The human diseases caused by exposure to PFAS include cancer,

immunotoxicity, thyroid disease, ulcerative colitis, and high cholesterol. The

association between exposure to these chemicals and certain cancers has been

confirmed by the C8 Health Project, an independent Science Panel charged with

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reviewing the evidence linking certain PFAS to diseases based on its research on the

Mid-Ohio Valley population exposed to certain PFAS as a result of releases from an

E. I. du Pont de Nemours and Company chemical plant.

      56.    The C8 Science Panel identified kidney cancer and testicular cancer as

having a “probable link” to PFOA exposure in the Mid-Ohio Valley population.

Epidemiological studies of workers exposed to PFOA on the job support the

association between PFOA exposure and both kidney and testicular cancer, and they

further suggest associations with prostate and ovarian cancer and non-Hodgkin’s

lymphoma. Rodent studies also support the link with cancer. Most of an EPA

Science Advisory Board expert committee recommended in 2006 that PFOA be

considered “likely to be carcinogenic to humans.” The C8 Science Panel has also

found probable links between exposure to certain PFAS and pregnancy-induced

hypertension, ulcerative colitis, and high cholesterol.

      57.    The International Agency for Research on Cancer (“IARC”) has

classified PFOA as a possible human carcinogen, and EPA has concluded that there

is suggestive evidence of the carcinogenic potential of PFOA in humans.

      58.    PFAS immunotoxicity has been demonstrated in a wide variety of

species and models, including humans, in recent years. For instance, in 2016, the

U.S. Department of Health and Human Service’s National Toxicology Program

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(“NTP”), after conducting a systematic review of the evidence pertaining to PFAS

exposure and immune-related health effects, concluded that PFOA and PFOS

constitute a hazard to immune system function in humans.

      59.    On May 19, 2016, EPA published lifetime Drinking Water Health

Advisories for PFOA and PFOS (“May 2016 EPA Health Advisories” or “Health

Advisories”). The Health Advisory for PFOA is 0.07 micrograms per liter (“µg/L”),

or 70 ppt. The Health Advisory for PFOS is also 0.07 µg/L, or 70 ppt. When both

PFOA and PFOS are found in drinking water, the combined concentrations should

be compared with the 70 ppt level.

      60.    The May 2016 EPA Health Advisories are based on peer-reviewed

studies of the effects of PFOA and PFOS on laboratory animals and epidemiological

studies of human populations exposed to PFOA and PFOS. These studies indicate

that exposure to PFOA and PFOS over certain levels may result in adverse health

effects, including developmental defects to fetuses, cancer (testicular, kidney), liver

effects, immune effects, thyroid effects, and other adverse effects.

      61.    The May 2016 EPA Health Advisories state that PFOA and PFOS have

“extremely high” persistence in the environment and the human body, and that the

developing fetus and newborn are “particularly sensitive” to PFOA and PFOS

induced toxicity. According to the Health Advisories, a single exposure to a

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developmental toxin at a critical time can produce a persistent adverse effect that

increases with additional exposure.

      62.   The Agency for Toxic Substances and Disease Registry (“ATSDR”)

issued an updated draft Toxicological Profile for Perfluoroalkyls in 2018, which

found, inter alia, strong associations between PFAS exposure and several adverse

health outcomes, including pregnancy-induced hypertension, liver damage,

increased serum lipids, thyroid disease, and immunotoxicity.

      63.   ATSDR’s updated Toxicological Profile significantly lowered

minimum risk levels (“MRLs”) for both PFOA and PFOS, and using the methods

EPA used to develop its May 2016 EPA Health Advisories, these updated MRLs

would translate to drinking water health levels of approximately 7 ppt for PFOA and

11 ppt for PFOS.

      64.   Based on concerns that EPA’s May 2016 EPA Health Advisories are

not protective of human health, numerous states have taken action to pursue stricter

guidelines for PFAS in drinking water, including: Vermont, which established a

health advisory of 20 ppt for any combination of PFOA, PFOS, PFHxS, PFHpA,

and PFNA; New Jersey, which established a MCL for PFNA of 13 ppt, and has

proposed a MCL for PFOA of 14 ppt and PFOS of 13 ppt; New York, which has

recommended adoption of MCLs of 10 ppt for PFOA and PFOS; and Michigan,

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where a scientific panel has recommended adoption of health advisory for PFOA of

8 ppt and PFOS of 16 ppt.

      65.   Section 7321 of the National Defense Authorization Act for Fiscal Year

2020 (“NDAA”) adds 172 PFAS to the list of toxic chemicals covered by the Toxics

Release Inventory (“TRI”) under Section 313 of the Emergency Planning and

Community Right to Know Act (“EPCRA”).

Defendants’ Knowledge of Toxicity and Persistence of PFAS

      66.   Defendants have long been aware of the persistence and toxicity of

PFAS, and PFOA and PFOS in particular. Defendants nonetheless knowingly and

intentionally discharged and continue to discharge these chemicals into the Dalton

POTW, where they inevitably Pass Through the POTW and are discharged from the

Riverbend LAS to the Conasauga River and then travel downstream and contaminate

the Oostanaula River, which supplies drinking water to the City of Rome and its

water subscribers.

      67.   Defendants that manufacture PFAS have known for at least 40 years

that PFAS chemicals persist in the environment and accumulate in the bodies of

humans, fish, and animals. For instance, blood tests of 3M workers conducted in

1978 found elevated organic fluorine levels “proportional to the length of time that

had been spent by employees in the production areas.” The same study found that

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“laboratory workers, with former exposure, but none for 15-20 years, had elevated

[organic fluorine levels] above literature normals.” A 1979 3M study of fish caught

by the Wheeler Dam (26 miles downstream from the 3M plant in Decatur, Alabama)

showed that these chemicals bioaccumulate in fish.

      68.      Defendant 3M has also known for at least 40 years that PFOA, PFOS,

and related chemicals are toxic. For instance, a 1978 3M study of the effects of

fluorochemical compounds on Rhesus monkeys was terminated after 20 days

because all the monkeys died as a result of exposure to the fluorochemicals. Twenty-

one years later, 3M told the public that a “new study” on these compounds’ effect

on Rhesus monkeys was one reason 3M pulled one of its consumer products,

Scotchgard, off the market.

      69.      In 1983, a team of 3M toxicologists recommended broad testing

regarding the effects of 3M’s fluorochemicals on the environment and human

beings.

      70.      Defendant 3M has known for at least 30 years that its disposal of PFOA

and PFOS and related chemicals through discharge into waterways, such as the

Conasauga River or the Oostanaula River, was unsafe. For instance, a Materials

Safety Data Sheet (“MSDS”) produced by Defendant 3M in 1986 warned that PFOA

should be disposed of only through incineration or at specially designed, properly

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lined landfills for hazardous chemicals, not discharged into rivers and not dumped

into the ground.

      71.      Defendant 3M has known for at least 40 years that PFOA, PFOS and

related chemicals are not effectively treated by conventional wastewater treatment

plant processes and are discharged to surface waters in the effluent and accumulate

in the sludge from wastewater treatment processes. For example, in 1978, 3M found

that the bacteria in wastewater treatment plants would not biodegrade PFOA. In

2001, 3M found high concentrations of these chemicals in samples from the Decatur

Utilities WWTP in Decatur, Alabama effluent and sludge as a result of discharges

from 3M. These high concentrations were not disclosed to Decatur Utilities or the

public.

      72.      A 1997 MSDS for a product made by 3M listed its only ingredients as

water, PFOA, and other per-fluoroalkyl substances and warned that the product

includes “a chemical which can cause cancer.” The MSDS cited “1983 and 1993

studies conducted jointly by 3M and DuPont” as support for this statement.

      73.      In 1978, DuPont began to review and monitor the health conditions of

its workers who were potentially being exposed to PFOA. DuPont subsequently

found that PFOA is “toxic” and that “continued exposure is not tolerable,” but did

not disclose this to the public or to the EPA. Three years later, DuPont again failed

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to disclose data demonstrating the transplacental movement of PFOA to fetuses. It

also failed to disclose widespread PFOA contamination in public drinking water

sources resulting from discharges at its Washington Works facility in Washington,

West Virginia, where PFOA concentrations exceeded DuPont’s own Community

Exposure Guideline.

        74.   In 1991, DuPont researchers recommended following up a study from

ten years earlier of employees who might have been exposed to PFOA. The prior

study showed elevated liver enzymes in the blood of DuPont workers. On

information and belief, for the purpose of avoiding or limiting liability, DuPont

chose not to conduct the follow-up study, instead postponing it until after it was

sued.

        75.   In or around December 2005, DuPont agreed to pay a $10.25 million

fine to the federal government arising from its failures to disclose information to

EPA about PFOA’s health risks. Upon information and belief, in statements to the

public and government regulators, DuPont has repeatedly and falsely claimed that

human exposure to PFOA has no adverse health consequences. In a May/June 2008

publication, for example, DuPont stated that “the weight of the evidence indicates

that PFOA exposure does not pose a health risk to the general public,” and “there

are no human health effects known to be caused by PFOA, although study of the

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chemical continues.” DuPont made those statements against the advice of its own

Epidemiology Review Board, which urged it not to make public statements asserting

that PFOA does not pose any health risks. In 2006 3M agreed to pay a $1.5 million

civil penalty for failure to disclose information to EPA about the health risks and

environmental persistence of PFAS chemicals.

      76.   For decades, 3M manufactured PFOA and supplied it to DuPont for its

manufacture of Teflon and other products. Despite DuPont’s knowledge of the risks

to human health posed by PFOA, in response to the withdrawal of 3M from the

market in May of 2000, DuPont opened its own plant to manufacture PFOA to be

incorporated into DuPont’s products.

      77.   In 2015, Dupont spun off its performance chemicals business (which

included the design, manufacture, marketing, and sale of PFAS, as well as the

environmental liabilities) to Chemours.

      78.   Upon information and belief, all Defendants have long been aware of

the persistence and toxicity of PFAS, at least as a result of communications with

Defendant manufacturers and other users of these chemicals, as well as the EPA,

EPD and/or UGA.




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      79.   Upon information and belief, all Defendants knew or should have

known that, in its intended and/or common use, PFAS would very likely cause harm

and injury, and/or threaten public health and the environment.

      80.   Upon information and belief, all Defendants knew or should have

known that PFAS are mobile and persistent, bioaccumulative, biomagnifying and

toxic. Defendants nonetheless concealed their knowledge from the public and

government agencies.

      81.   In 2002, EPA took regulatory action under the Toxic Substances

Control Act (“TSCA”) to limit the future manufacture of PFOA, PFOS, and related

chemicals. In response, Defendants 3M and DuPont undertook to develop and

manufacture and supply to other Defendants “Short-Chain” PFAS; that is, PFAS

with six or fewer carbons, such as GenX. Defendants are aware that these Short-

Chain PFAS are, like PFOA and PFOS, persistent and not subject to biodegradation,

and that they accumulate in human blood. Likewise, Defendants are aware that

Short-Chain PFAS are toxic and known to cause cancer in animal studies.

Contamination of Upper Coosa River Basin with PFAS

      82.   Defendants discharge PFAS in their industrial wastewater into the City

of Dalton, Georgia’s POTW, operated by Defendant The City of Dalton, Georgia,




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acting through its Board of Water, Light and Sinking Fund Commissioners, d/b/a

Dalton Utilities (“Dalton Utilities”).

      83.    Dalton Utilities operates the Riverbend, Loopers Bend, and Abutment

Road Water Pollution Control Plants (“WPCPs”), which treat this wastewater before

it is pumped to the approximate 9,800-acre Riverbend LAS for land application

using approximately 19,000 sprayheads. According to the EPA, approximately 90%

of the wastewater which enters these treatment facilities for ultimate disposal at the

LAS originates from industrial sources, primarily carpet manufacturers.

      84.    The operation of Dalton Utilities’ wastewater collection and disposal

system, which is a “no discharge” system and includes the Riverbend, Loopers Bend,

and Abutment Road WPCPs, as well as the LAS, is governed by the terms and

conditions of Land Application System Permit No. GAJ020056 (“LAS permit”).

The LAS permit authorizes Dalton Utilities to discharge up to 30 million gallons per

day (“MGD”) of wastewater effluent to the LAS. However, among other things, the

LAS permit expressly prohibits any discharge from the LAS to surface waters.

Despite this prohibition, EPA has found that a “significant amount” of the

wastewater effluent sprayed onto the LAS by Dalton Utilities “leaves [the LAS] via

surface waters and enters the Conasauga River.”




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      85.    The LAS is also covered by and subject to the National Pollutant

Discharge Elimination System (“NPDES”) Industrial General Stormwater Permit

GAR050000 (“2017 IGP” or “NPDES Permit”), which authorizes certain

stormwater discharges from the LAS. However, Part 1.1.4 of the NPDES Permit

expressly prohibits discharges of stormwater mixed with non-stormwater, which

include discharges of “process wastewater, industrial wastewater, and contaminated

stormwater.” Id.; Part 8.L.3.1; Part 8.T.3.

      86.    Defendants’ PFAS resist degradation during the treatment process at

these mechanical preapplication WPCPs and further increase in concentration as

these toxic chemicals accumulate in the LAS. Defendants have known for decades

that PFAS cannot be removed from their industrial wastewater discharges sent to the

Dalton POTW, and Dalton Utilities has known for years that its conventional

treatment processes and land application will not remove these chemicals prior to

discharge to the Conasauga River and its tributaries in and around the LAS.

      87.    Despite this knowledge, the LAS Permit, which sets forth the terms and

conditions governing Defendant Dalton Utilities’ approved industrial pretreatment

program for discharges of industrial wastewater into the Dalton POTW, in no way

authorizes Defendants’ discharges of PFAS into the Dalton POTW. Likewise,




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Defendants’ industrial user wastewater discharge permits issued by Dalton Utilities

do not authorize discharges of PFAS into the Dalton POTW.

      88.    PFAS have been detected in dangerously high levels in the soil,

compost, sewage sludge, groundwater, and wastewater effluent at the LAS, which

borders and is hydrologically connected to the Conasauga River and its tributaries,

some of which flow through the LAS. Historical applications of PFAS at the LAS

continue to be discharged from the LAS to the Conasauga River or its tributaries,

having the same net polluting effect on these surface waters for decades, if not

longer, after their initial deposit. Stormwater discharges contaminated with PFAS

also pollute the Conasauga River or its tributaries as they flow past/through the LAS,

as do discharges of PFAS contaminated groundwater.

      89.    EPA, the University of Georgia (“UGA”), and the Georgia

Environmental Protection Division (“EPD”) have identified industrial wastewater

originating from Defendants’ manufacturing facilities, and ultimately discharged

from the Riverbend LAS, as the source of PFAS contamination in the Conasauga

River, the Oostanaula River, the City of Rome’s water supply, and the Coosa River.

      90.    UGA conducted surface water sampling in March of 2006 to determine

the presence and distribution of PFAS in the Conasauga River above and below the

LAS near Dalton (“UGA Study”). Based on extremely high concentrations of PFAS

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downstream of the LAS, including PFOA at levels as high as 1150 parts per trillion

(“ppt”) and PFOS as high as 318 ppt, the UGA study concluded that the LAS is an

“important point source of [PFAS] contamination.” The UGA Study further found

these concentrations of PFAS were among the “highest ever recorded in surface

waters.”

       91.   The United Steelworkers Union sampled surface waters downstream

from the Riverbend LAS in August and October of 2006, and analytical results from

this sampling showed concentrations of PFOA of up to 526 ppt in the Conasauga

River and PFOS as high as 923 ppt.

       92.   Sampling conducted by Dalton Utilities between July 2009 and August

2010 showed, inter alia, PFOA levels as high as 400 ppt and PFOS levels as high as

1200 ppt in the Conasauga River or its tributaries, including Holly Creek,

downstream of the LAS. Elevated levels of PFAS were also consistently found in

Dalton Utilities’ compost, sewage sludge, as well as soil and groundwater at the

LAS.

       93.   In July of 2012, EPA conducted a “Conasauga River [PFAS] Study,”

consisting of surface water sampling in the Conasauga River and its tributaries in

and around the LAS, as well as the Oostanaula and Coosa Rivers downstream.

Analytical results from this sampling showed elevated levels of PFAS in all surface

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water samples downstream of the LAS as compared to upstream samples, including

PFOA as high as 210 ppt and PFOS as high as 180 ppt in the Conasauga River. The

Oostanaula River downstream of its confluence with the Conasauga was also

contaminated with PFOA and PFOS at unsafe levels.

      94.   Additional sampling of surface waters within the Upper Coosa River

Basin, including in the Conasauga and Oostanaula Rivers, in the summer of 2016

and November of 2019, at the specific locations set out in the June Notice attached

hereto as Exhibit “A” and incorporated by reference herein, demonstrates that

Defendant Dalton Utilities discharged PFAS from the LAS to the Conasauga River

or its tributaries, thereby also contaminating the Oostanaula River with PFAS, on at

least the following occasions: June 19, 2016; June 20, 2016; June 21, 2016; June 22,

2016; June 23, 2016; June 24, 2016; July 20, 2016; July 21, 2016; November 20,

2019; and November 21, 2019.

PFAS Contamination of Rome Water Supply

      95.   In March of 2009, several public drinking water supplies downstream

from the LAS, including Rome’s, were sampled for the presence of PFAS, and

Rome’s water supply was tested again in January of 2010. The results of this

sampling showed that Rome’s drinking water supply was contaminated with PFAS,

and PFOA and PFOS in particular, at dangerously high levels.

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         96.   Leading up to the issuance of the May 2016 EPA Health Advisories,

Rome began regular testing for PFOA and PFOS in its water supply, and has

consistently found PFOA and PFOS levels that combine to exceed EPA’s 70 ppt

limit. Rome has also found other Long-Chain as well as Short-Chain PFAS in the

water supply.

         97.   In 2016, Rome’s then- existing water treatment filtration system was

not capable of removing or reducing levels of PFAS including, but not limited to,

PFOA and PFOS. Upon being informed that the May 2016 EPA Health Advisories

would set lifetime safe PFOA and PFOS levels drastically lower than the 2009

provisional drinking water health advisories for short-term exposure, Rome took

emergency precautions and implemented an emergency temporary filtration process

by installing granular activated carbon in existing filter beds to remove non-Short-

Chain PFAS. Rome also drew additional water from the Etowah River for purposes

of blending that water with water drawn from the primary source, the Oostanaula

River.

         98.   Due to the high levels of PFOA and PFOS found in its water supply,

and due to the presence of Short-Chain PFAS, the City’s water supply requires a

new and permanent filtration system, which is necessary to provide a safe, long-term




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supply of water which will meet the EPA health advisories and provide safe water

for the public.

      99.    These emergency efforts have cost, and will continue to cost, Rome

millions of dollars to implement, and the City was forced to implement a surcharge

upon all customer rate payers to recoup its costs. Additionally, implementation of

the new, permanent filtration system will increase the future costs the City must

incur to provide a safe, long-term supply of water which will meet the EPA health

advisories and provide safe water for the public. Such increased costs will be passed

on to all customer rate payers to recoup them through additional and increased

surcharges. The City estimates that water subscribers/ratepayers will likely see a

minimum 2.5% rate increase each year for the foreseeable future to address PFAS

contamination.

      100. On November 4, 2019, the City of Rome’s City Commission enacted a

“Resolution Regarding City of Rome Water Supply,” finding, inter alia, that the

PFAS contamination of the Oostanaula River and Rome’s water supply constituted

a public nuisance that threatens the health and safe of the community and the long-

term sustainability of the City of Rome’s water supply.




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      101. Sampling of the Oostanaula River at Rome’s water intake on November

20, 2019 showed, in addition to other elevated PFAS, PFOA at 57 ppt and PFOS at

71 ppt, far in excess of EPA’s 2016 Health Advisories’ limit of 70 ppt.

      102. As a direct and proximate result of Defendants’ contamination of the

RWSD and FCWD water supplies with PFAS, Plaintiff and the Proposed Class

Members have suffered damages, including, but not limited to, property damage and

losses for the payment of surcharges to filter and remove PFAS from the Rome and

Floyd County water supply, and other compensatory damages to be proven at trial.

                        COUNT ONE:
DISCHARGE OF POLLUTANTS TO SURFACE WATERS WITHOUT AN
   NPDES PERMIT IN VIOLATION OF THE CLEAN WATER ACT
                  (Defendant Dalton Utilities)

      103. Plaintiff incorporates by reference paragraphs 1 through 102 as if

restated herein.

      104. Section 301(a) of the Clean Water Act (“CWA”), 33 U.S.C. § 1311(a),

prohibits the discharge of pollutants from a point source into waters of the United

States unless the discharge is in compliance with various enumerated sections of the

CWA. Among other things, Section 301(a) prohibits discharges not authorized by,

or in violation of the terms of, an NPDES permit issued pursuant to Section 402 of

the CWA, 33 U.S.C. § 1342. Each discharge not authorized by a permit, and each

violation of a permit, is a violation of the CWA.
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        105. The State of Georgia has been delegated authority to implement the

permitting programs of the Act by EPA, including the NPDES permit program,

pursuant to 33 U.S.C. § 1342(b). EPD is the state water pollution control agency for

purposes of the CWA, and administers statutory and regulatory implementing the

CWA’s permitting programs within the State of Georgia. See, e.g., O.C.G.A. § 12-

5-30.

        106. A citizen suit, pursuant to 33 U.S.C. § 1365(a)(1), may be brought for

the discharge of pollutants into waters of the United States without a permit in

violation of Section 301 of the CWA. 33 U.S.C. § 1365(f). There is also CWA

jurisdiction where pollutants are discharged from a point source to navigable surface

waters through hydrologically connected ground water, where the discharge is the

“functional equivalent” of a direct discharge to navigable waters. County of Maui v.

Hawaii Wildlife, Fund, 140 S. Ct. 1462, 1476 (2020).

        107. Defendant Dalton Utilities’ discharges of PFAS from the LAS, the

sprayheads located thereon, and/or ditches and drainage channels that flow from the

LAS, into the Conasauga River or its tributaries, constitute the discharge of a

pollutant from a point source requiring an NPDES Permit authorizing such

discharge.




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      108. Defendant Dalton Utilities’ discharges of PFAS from the LAS, the

sprayheads located thereon, and/or ditches and drainage channels that flow from the

LAS, into the Conasauga River or its tributaries through hydrologically connected

groundwater beneath the LAS, constitute the “functional equivalent” of a direct

discharge to these surface waters requiring an NPDES Permit authorizing such

discharges.

      109. Per- and polyfluoroalkyl substances (“PFAS”) are “pollutants” within

the meaning of the CWA. 33 U.S.C. § 1362(6).

      110. The LAS, the sprayheads located thereon, and ditches and drainage

channels that flow from the LAS to the Conasauga River and/or tributaries thereto

are all “point sources” within the meaning of the CWA. 33 U.S.C. § 1362(14).

      111. The Conasauga River and its tributaries are waters of the State of

Georgia and waters of the United States as that term is used in the CWA and as it

has been interpreted by the federal courts.

      112. The requirement for an NPDES permit authorizing these discharges

arose when at the time that Dalton Utilities first knew or should have known that

PFAS was being discharged from the LAS into surface waters. Each day since that

time is a violation of the CWA, and these violations are continuing as of the date of

this Amended Complaint.

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      113. Since as early as 2006, and every day since June of 2015, and on at least

the specific occasions set forth in Paragraph 94 and the June Notice, attached hereto

as Exhibit “A” and incorporated by reference herein, Dalton Utilities has violated

Section 301(a) of the CWA, 33 U.S.C. § 1311(a), by discharging PFAS from the

LAS into the Conasauga River and/or its tributaries, directly or through

hydrologically connected groundwater beneath the LAS, without an NPDES Permit

authorizing such discharges.

      114. Defendant Dalton Utilities should be subject to an enforcement order

or injunction order Dalton Utilities to cease its discharges of PFAS from the LAS

into the Conasauga River or its tributaries without an NPDES Permit authorizing

such discharges.

      115. Defendant Dalton Utilities should be subject to the assessment of civil

penalties for these violations pursuant to Sections 309(d) and 505 of the Act, 33

U.S.C. §§ 1319(d) and 1365.

      116. For the purpose of assessing the maximum civil penalty for which

Defendant Dalton Utilities is liable, each day that Dalton Utilities has discharged

pollutants without a permit authorizing such discharges constitutes a separate

violation of Section 301(a) of the CWA, pursuant to Section 309(d), 33 U.S.C. §




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1319(d), for each day on which it has occurred or will occur after the filing of this

Second Amended Complaint.

                          COUNT TWO:
INDUSTRIAL USER PASS THROUGH DISCHARGES OF POLLUTANTS
 IN VIOLATION OF DALTON UTITLITIES’ SEWER USE RULES AND
          REGULATIONS AND THE CLEAN WATER ACT
      (Defendant Dalton/Whitfield Regional Solid Waste Authority)
      117. Plaintiff incorporates by reference paragraphs 1 through 116 as if

restated herein.

      118. Section 307(b) through (e) of the CWA, 33 U.S.C. §§ 1317(a)-(e),

establish the federal pretreatment program for regulation of discharges from

industrial facilities into publicly owned treatment works. Section 307(d) of the Act,

33 U.S.C. § 1317(d), prohibits the operation of any source of discharge of pollutants

into a publicly owned treatment works in violation of, amongst other things,

prohibitions on discharges.

      119. EPA has adopted pretreatment standards for industrial dischargers to

publicly owned treatment works at 40 C.F.R. Parts 404 through 471, including both

general regulations and categorical regulations for specific industrial categories.

      120. The State of Georgia has been delegated authority to implement the

permitting programs of the Act by EPA, including the pretreatment program for

industrial discharges into wastewater facilities, pursuant to 33 U.S.C. § 1342(b).


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EPD is the state water pollution control agency for purposes of the CWA, and

administers statutory and regulatory implementing the CWA’s permitting programs

within the State of Georgia. See, e.g., GA. COMP. R. & REGS. §§ 391-3-6-0(8),

391-3-6-0(9).

      121. Both the EPA and EPD rules prohibit the discharge into a POTW of

“any pollutant(s) which cause Pass Through or Interference.” 40 C.F.R. § 403.5(a);

GA. COMP. R. & REGS. §§ 391-3-6-0(8)(3)(a)(2).

      122. Dalton Utilities has enacted Sewer Use Rules and Regulations

(“SURR”), which incorporate federal and state pretreatment standards for discharges

of industrial wastes into the Dalton POTW, so that Defendant Dalton Utilities can

“comply with all State and Federal laws, including the Clean Water Act, the General

Pretreatment Regulations, the Georgia Water Quality Control Act, and Georgia

Department of Natural Resources Rules.”

      123. A citizen suit may be brought for violations of pretreatment standards

under Section 307 of the CWA, including violations of local limits like the SURR.

33 U.S.C. § 1365(f).

      124. Section 2.4.1 of the SURR provides that “No User shall contribute or

cause to be contributed directly or indirectly to the POTW any Pollutant or




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Wastewater that causes Pass Through or Interference.” Section 1.4 of the SURR

defines “Pass Through” as:

      A discharge that exits any point from the Wastewater Treatment Plants
      into the waters of the State of Georgia containing quantities or
      concentrations, which, alone, or in conjunction with a discharge or
      discharges from other sources, are a cause of a violation of any
      requirement of Dalton Utilities’ LAS Permit including an increase in
      the magnitude or duration of a violation.

      125. Sampling of Defendant DWSWA’s industrial discharge to the Dalton

POTW on June 21, 2016 showed the presence of numerous PFAS at dangerously

high levels: PFPA (780 ppt); PFBA (6,000 ppt); PFHpA (4,200 ppt); PFNA (200

ppt); PFOA (4,500 ppt); PFOS (170 ppt); PFDA (100 ppt); PFHxS (450 ppt); and

PFHxA (10,000 ppt).

      126. Since at least June of 2015, and on at least the dates specified in

Paragraph 125 above and the June Notice attached hereto as Exhibit “B” and

incorporated by reference herein, the DWSWA has violated Section 2.4.1 of the

SURR and Section 307(d) of the CWA, 33 U.S.C. § 1317(d), by discharging PFAS

into the Dalton POTW where these chemicals Pass Through and are discharged into

the Conasauga River or its tributaries, causing violations of Dalton Utilities’ LAS

permit. These discharges of PFAS by Defendant DWSWA to the Dalton POTW are

ongoing and/or are likely to recur into the future.



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      127. On the same dates referenced in Paragraph 125 above, DWSWA has

violated 40 C.F.R. § 403.5(a) and Section 307(d) of the CWA, 33 U.S.C. § 1317(d),

by discharging PFAS into the Dalton POTW where these chemicals Pass Through

and are discharged into the Conasauga River or its tributaries along with stormwater.

These non-stormwater discharges of industrial/process wastewater containing

PFAS, which are ongoing and/or likely to recur into the future, cause violations of

Dalton Utilities’ NPDES Permit, which prohibits such “non-stormwater” discharges.

      128. Defendant DWSWA should be subject to an enforcement order or

injunction ordering Defendant DWSWA to cease its violations of pretreatment

requirements and standards.

      129. Defendant DWSWA should be subject to the assessment of civil

penalties for these violations pursuant to Sections 309(d) and 505 of the Act, 33

U.S.C. §§ 1319(d) and 1365.

      130. For the purpose of assessing the maximum civil penalty for which

Defendant DWSWA is liable, each instance of Defendant DWSWA’s violation of

pretreatment requirements and standards constitutes a separate violation of Section

307(d) of the CWA, pursuant to Section 309(d), 33 U.S.C. § 1319(d), for each day

on which it has occurred or will occur after the filing of this Second Amended

Complaint.

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                            CLASS ALLEGATIONS

      131. Plaintiff incorporates by reference paragraphs 1 through 130 as if

restated herein.

      132. Plaintiff brings this action pursuant to the provisions of Rule 23(a) and

23(b)(3) of the Federal Rules of Civil Procedure as a Class Action on his own behalf

and on behalf of all other persons similarly situated. This action satisfies the

numerosity, commonality, typicality, predominance, and superiority requirements of

Fed. R. Civ. P. 23(a) and 23(b)(3).

      133. Plaintiff and the Proposed Class Members are water subscribers and

ratepayers with the RWSD and/or the FCWD who have been in the past, and will be

in the future, harmed, injured, and damaged through the contamination of their

drinking water with PFAS and the payment of surcharges to recoup the costs of

removing this contamination.

      134. Plaintiff brings this Class action on behalf of a proposed Class as set

forth below:

      All water subscribers (ratepayers) with the Rome Water and Sewer
      Division and/or the Floyd County Water Department.
      135. Excluded from the proposed Class are:

      a.     Defendants, their employees, and any entities in which Defendants
have a controlling interest;


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     b.     Any of the legal representatives, heirs, successors, or assigns of
Defendants;

     c.     The Judge to whom this case is assigned and any Member of the Judge’s
immediate family and any other judicial officer assigned to this case;

    d.     Any attorneys, or their immediate family, representing the Plaintiff or
Members of the proposed Class; and

      e.     All persons or entities that properly execute and timely file a request
for exclusion from the Proposed Class.

      136. Plaintiff reserves the right to modify or amend the definition of the

Proposed Class if, prior to the Court’s determination on whether certification is

appropriate, discovery and further information reveals that the Class should be

modified or amended in any way.

                                    Numerosity

      137.    The Proposed Class Members are so numerous that separate joinder of

each Member is impractical. Although the exact number of proposed Class Members

will be established after Class notification, upon information and belief, the number

of proposed Class Members probably exceeds 30,000 people. The disposition of the

claims of these Class Members in a single action will provide substantial benefits to

all parties and the Court.

      138. Putative Class Members are readily identifiable through records of the

RWSD and FCWD and through publicly available property records and may be


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given any required notices by regular mail, supplemented, if necessary and required

by the Court, by published notice.

                                     Typicality

      139. Plaintiff’s claims are typical of the claims to be advanced by Members

of the Class, and their claims encompass those of the other Class Members, in that

the facts and circumstances giving rise to liability are the same, the claims are based

on the same legal theories, and the damages suffered by Plaintiff are the same kinds

of damages suffered by Members of the Class.

                             Adequate Representation

      140. Plaintiff will fairly and adequately protect and represent the interests of

each Proposed Class Member, as their interests do not conflict, their interests are co-

extensive with common rights of recovery based on the same essential facts and legal

theories, they are members of the same communities, they are similarly damaged

and are seeking the same remedies, and they intend to prosecute this action

vigorously.

      141. Plaintiff has retained counsel competent and experienced in complex

Class action and toxic tort litigation, including actions like this one. Plaintiff’s

counsel also intend to prosecute this action vigorously.




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             Predominance of Common Questions of Law and Fact

      142. Common questions of fact and law among the Representative Plaintiffs

and Proposed Class Members predominate over questions affecting only individual

Class Members. There are numerous questions of law and fact common to the Class,

including:

      (a) The factual history of the use, development, and distribution of PFAS
and related chemicals manufactured and used by the Defendants at their Rome,
Georgia, and Floyd County facilities;
     (b) When the Defendants knew of the harmful effects of PFAS and related
chemicals;

      (c) Whether the Defendants failed to disclose the harmful effects of PFAS
and related chemicals being released from their plants in Rome, Georgia, and Floyd
County;
     (d) The extent of the contamination at the Defendants’ plant sites in Dalton,
Georgia, and the migration of that contamination into the Conasauga, Oostanaula,
and Coosa Rivers;
     (e) Whether the water supplied to Plaintiff and the Proposed Class
Members has been and continues to be contaminated with PFAS and related
chemicals;
      (f)   Whether Plaintiff and the Proposed Class Members paid more for their
contaminated water than they should have;
      (g) Whether the Defendants’ conduct was intentional, willful, wanton,
reckless, and negligent, and constitutes a nuisance;
     (h) Whether the Plaintiff and the Proposed Class Members should be
awarded their reasonable attorney’s fees and expenses of litigation;

     (i)    Whether punitive damages should be imposed on the Defendants in an
amount sufficient to punish, penalize, or deter their intentional, willful, wanton, and
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reckless, malicious, and oppressive acts and omissions that have created and
maintained a continuing public nuisance.

      (j)    The necessary remedial actions to abate the claimed nuisance and clean
Defendants’ chemicals from the Plaintiff’s and the Proposed Class Members’ water
supplies and properties;
      (k) Whether and to what extent injunctive relief is appropriate to require
Defendants to abate the claimed nuisance and prevent Defendants’ chemicals from
invading the Plaintiff’s and the Proposed Class Members’ water supplies and
properties.

       143. The questions of law and fact common to Proposed Class Members

predominate over any questions affecting only individual Members, and thus a class

action is superior to other available methods for the fair and efficient adjudication of

the controversy. The prosecution of separate actions by individual Proposed Class

Members would create a risk of (a) inconsistent or varying adjudications with respect

to individual Proposed Class Members, which would establish incompatible

standards of conduct for the Defendants and/or (b) adjudications with respect to

individual Proposed Class Members which would as a practical matter be dispositive

of the Members not parties to the adjudications or substantially impair or impede

their ability to protect their interests.

       Fed. R. Civ. P. 23(a) and 23(b)(2) Injunctive or Declaratory Relief

       144. In addition to the above, Plaintiff brings this Class action under Fed. R.

Civ. P. 23(a) and 23(b)(2), because Defendants have acted or refused to act on


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grounds generally applicable to all Members of the proposed Class, making final

declaratory and injunctive relief appropriate with respect to the Class as a whole.

Such injunctive relief includes, but is not limited to an injunction to require

remediation of the PFAS contaminated LAS, including contaminated soils and the

groundwater aquifer beneath the LAS.

      145. Common questions of fact and law among the Representative Plaintiffs

and Proposed Class Members predominate over questions affecting only individual

Class Members. Some of the common issues are set forth in Paragraph 139 above.

                                     Superiority

      146. Additionally, Class action treatment is a superior method to other

available methods for the fair and efficient adjudication of the controversy.

Certification would be proper in that, among other things: there is no interest by

Proposed Class Members in individually controlling the prosecution of separate

actions; the expense of prosecuting individual claims for the matters for which Class

certification is sought would be prohibitive in light of the typical claimant’s injuries;

neither Plaintiff nor Members of the proposed Class have filed or are parties to any

litigation in which the legal and factual issues raised herein are to be adjudicated;

and it is desirable to concentrate the litigation of claims in a single proceeding so as

to avoid unnecessary and expensive duplication of actions and to provide for judicial

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economy. Whatever difficulties may exist in the management of a Class action will

be greatly outweighed by its benefits.

      147. Class action treatment is preferable to other available methods in

providing a fair and efficient method for the adjudication of the controversy

described herein, which has affected a large number of persons. The Class action

provides an effective method whereby the enforcement of the rights of the Plaintiffs

can be fairly managed without unnecessary expense or duplication.

                         COUNT THREE:
  WILLFUL, WANTON, RECKLESS, OR NEGLIGENT MISCONDUCT
        (All Defendants Except Dalton Utilities and DWSWA)

      148. Plaintiff and Proposed Class Members incorporate by reference

paragraphs 1 through 147 as if restated herein.

      149. As manufacturers, distributors, suppliers, handlers, transporters, users

and/or dischargers of PFAS, Defendants owed a duty to Plaintiff and Proposed Class

Members and any other persons who might be foreseeably harmed to exercise due

and reasonable care to prevent the discharge of toxic PFAS chemicals into waters of

the State and waters of the United States, and the Conasauga and Oostanaula Rivers

in particular, thereby contaminating the RWSD and FCWD water supply.




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      150. Plaintiff and Proposed Class Members have a reasonable expectation

that Defendants will not contaminate surface waters or their domestic water supplies

with PFAS.

      151. Defendants knowingly breached this duty owed to Plaintiff and

Proposed Class Members, and under the circumstances, Defendants’ breach

constitutes willful, wanton, reckless, and/or negligent misconduct.

      152. Defendants knew or should have known that their discharge of toxic

PFAS chemicals would result in contaminated surface waters, primarily the

Conasauga and Oostanaula Rivers, and domestic water supplies thereby endangering

human health and the environment.

      153. As a direct, proximate, and foreseeable result of Defendants’ conduct,

practices, actions, omissions, and inactions, Plaintiff and Proposed Class Members

who are owners and occupants of residential real property and water

subscribers/ratepayers with the RWSD and/or the FCWD have been caused to suffer,

and will continue to suffer damage to property and losses for the surcharges incurred

as ratepayers for the costs of filtering PFAS from their drinking water and other

damages to be proved trial.




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                               COUNT FOUR:
                           NEGLIGENCE PER SE
          (All Defendants Except Dalton Utilities, DWSWA, 3M, DuPont, &
                                 Chemours)

      154. Plaintiff and Proposed Class Members incorporate by reference

paragraphs 1 through 153 as if restated herein.

      155. Defendants owed a duty to Plaintiff and Proposed Class Members under

Sections 301(a) and 307(d) of the CWA, 33 U.S.C. §§ 1311(a) and 1317(d), to not

discharge pollutants into waters of the United States without a valid permit and to

operate their facilities in such a manner as to ensure their industrial discharges into

the Dalton POTW did not cause Pass Through or Interference.

      156. Defendants owed duties to Plaintiff and Proposed Class Members under

the Georgia Water Quality Control Act (“GWQCA”), O.C.G.A. §§ 12-5-20, et seq.,

and its implementing regulations to, among other things: not use any waters of the

State for the disposal of sewage, industrial wastes, or other wastes, O.C.G.A. § 12-

5-29(a); to obtain an NPDES permit for a facility of any type that will result in the

discharge of pollutants into waters of the State, O.C.G.A. § 12-5-30; to immediately

notify EPD of the location and nature of PFAS discharges into waters of the State

and immediately take all reasonable steps to prevent injury to the health or property

of downstream users of waters of the State, O.C.G.A. § 12-5-30.4; keep waters of

the State free from “industrial wastes or other discharges in amounts sufficient to …
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interfere with the designated use of the water body,” Ga. Comp. R. & Regs. § 391-

3-6-.03(5)(b); keep waters of the State free from “industrial or other discharges

which … interfere with the designated use of the water body,” id. at § 391-3-6-

.03(5)(c); and to keep waters of the State free from “toxic … substances discharged

from … industries or other sources … in amounts, concentrations or combinations

which are harmful to humans, animals or aquatic life[.]” Id. at § 391-3-6-.03(5)(e).

      157. Plaintiff and Proposed Class Members are within the class of persons

that the CWA and the GWQCA and its implanting regulations were designed to

protect, and the harm sustained is the type of harm that these statutes and regulations

are designed to prevent.

      158. Defendants breached these duties owed to Plaintiff and Proposed Class

Members, and pursuant to O.C.G.A. § 51-1-6, under the circumstances, Defendants’

breaches constitute negligence per se.

      159. As a direct, proximate, and foreseeable result of Defendants’ conduct,

practices, actions, and inactions, Plaintiff and Proposed Class Members who are

owners and occupants of residential real property and water subscribers/ratepayers

with the RWSD and/or the FCWD have been caused to suffer, and will continue to

suffer damage to property and losses for the surcharges incurred as ratepayers for




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the costs of filtering PFAS from their drinking water and other damages to be proved

trial.

                                  COUNT FIVE:
                              PUNITIVE DAMAGES
                (All Defendants Except Dalton Utilities and DWSWA)

         160. Plaintiff and Proposed Class Members incorporate by reference

paragraphs 1- 159 as if restated herein.

         161. As manufacturers, distributors, suppliers, handlers, transporters, users

and/or dischargers of PFAS, Defendants owed a duty to Plaintiff and Proposed Class

Members and any other persons who might be foreseeably harmed to exercise due

and reasonable care to prevent the discharge of toxic PFAS chemicals into waters of

the State and the United States thereby contaminating the RWSD and FCWD water

supply.

         162. Plaintiff and Proposed Class Members have a reasonable expectation

that Defendants will not contaminate surface waters or their domestic water supplies

with PFAS.

         163. In breaching these duties and performing the other tortious acts and

omissions described above, Defendants’ actions showed willful misconduct, malice,

fraud, wantonness, oppression, or that entire want of care which would raise the

presumption of conscious indifference to consequences.


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      164. Defendants knew or should have known that their discharge of toxic

PFAS chemicals would result in contaminated surface waters and domestic water

supplies thereby endangering human health and the environment.

      165. Defendants acted, or failed to act, with the specific intent to cause harm,

and did, and continue to, cause harm and injury to the Plaintiff and Proposed Class

Members.

      166. Defendants acted, or failed to act, knowingly and willfully with

conscious disregard and indifference to the rights and safety of others with

knowledge that the actions and inactions would cause injury ad harm to the Plaintiff

and Proposed Class Members.

      167. Punitive damages should be imposed on Defendants in an amount

sufficient to punish, penalize and deter them from repeating such wrongful conduct.

      168. Because the Defendants have acted in bad faith in the underlying

transactions or occurrences, have been stubbornly litigious, and have put the Plaintiff

and Proposed Class Members to unnecessary trouble and expense, they are subject

to liability for reasonable attorney’s fees and expenses of litigation as a part of

damages recoverable by the Plaintiff and Proposed Class Members.




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                                COUNT SIX:
                             PUBLIC NUISANCE
             (All Defendants Except Dalton Utilities and DWSWA)
      169. Plaintiff and Proposed Class Members incorporate by reference

paragraphs 1- 168 as if restated herein.

      170. Plaintiff and Proposed Class Members own and occupy residential

properties supplied with drinking water by the RWSD and/or the FCWD and are

forced to pay surcharges that allow the City to filter PFAS from the water supply.

      171. Defendants have created a continuous, public nuisance by their

discharge of PFAS including, but not limited to PFOA, PFOS, and related chemicals

into the Conasauga, Oostanaula, and Coosa Rivers and related tributaries and

watersheds, which has caused, and continues to cause, contamination of these waters

and Plaintiff’s and Proposed Class Members’ water supplies, thereby proximately

causing the public and Plaintiff and Proposed Class Members past, present, and

future harm, injury, inconvenience, and increased water rates and surcharges.

      172. The PFAS contamination caused by the Defendants has unreasonably

interfered, and continues to interfere, with a right common to the general public—

i.e., safe drinking water—and has unreasonably interfered, and continues to

interfere, with public health.




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      173. All who come into contact with the PFAS released and discharged by

Defendants are hurt, inconvenienced, or damaged by, among other things, being

exposed to the harmful effects of PFAS. The harm caused by Defendants’ conduct

is not fanciful, or such as would affect only one of fastidious taste; rather,

Defendants’ conduct is such that it affects all ordinary, reasonable persons who

purchase, use, or otherwise come into contact with the PFAS contaminated water.

See O.C.G.A. § 41-1-1.

      174. The levels of toxic chemical contamination found in the RWSD and/or

the FCWD water supply, directly caused by the Defendants’ pollution, has created a

condition that has threatened, and continues to threaten, the health and well-being of

the Plaintiff, and Proposed Class Members, and everyone who consumes PFAS

contaminated drinking water supplied by the RWSD and/or the FCWD. This

ingestion of PFAS causes concern, inconvenience, and harm to the Plaintiff,

Proposed Class Members, and everyone who consumes drinking water supplied by

the RWSD and/or the FCWD —as it would to any other person. It was reasonably

foreseeable, and in fact known to the Defendants, that their actions would cause

interference with the property rights of Plaintiff and Proposed Class Members and

would place, have placed, and continue to place, them at increased risk of physical




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harm, as well as cause them to incur additional, otherwise unnecessary expense to

acquire drinking water for themselves and their families.

         175. Plaintiff and Proposed Class Members have suffered, and will continue

to suffer, special damages from Defendants’ discharge of PFAS into the Conasauga

River, because Plaintiff and Proposed Class Members consume and have consumed

drinking water provided by the RWSD and/or FCWD and must also pay the added

costs of attempting to remove the PFAS contamination by way of increased rates

and surcharges they incur as ratepayers.

         176. The nuisance created by Defendants’ wrongful conduct is continuing,

because Defendants’ discharges and releases of PFAS into the Conasauga River are

continuing. In addition, the past discharges of PFAS and have caused contamination

of sediments in the river, which provide a continuing source of contamination of the

water.

         177. As a result of the public nuisance caused by Defendants, Plaintiff and

Proposed Class Members, who are owners and occupants of residential real property

and ratepayers with the RWSD and/or the FCWD, have been caused to suffer, and

will continue to suffer, losses for the increased rates and surcharges incurred as

ratepayers for the costs of filtering PFAS from their drinking water, and other

damages to be proved at trial.

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      178. As a result of the public nuisance caused by Defendants, Plaintiff and

Proposed Class Members have been caused to suffer, and will continue to suffer,

economic damage caused by Defendants’ actions/inactions, including their role in

the toxic PFAS contamination of the public drinking water.

      WHEREFORE, Plaintiff and the Proposed Class Members demand trial by

jury and judgment against all Defendants, jointly and severally, for past, present, and

future compensatory damages in such amounts as the evidence shows them to be

justly entitled to recover, including interest and reasonable attorneys’ fees and

litigation expenses, as well as punitive damages in an amount sufficient in an amount

sufficient to punish and penalize them, and deter them from repeating their wrongful

conduct, and all costs.

                              COUNT SEVEN:
                        CLAIMS FOR ABATEMENT
                 AND INJUNCTION OF PUBLIC NUISANCE
             (All Defendants Except Dalton Utilities and DWSWA)

      179.    Plaintiff and Proposed Class Members incorporate paragraphs 1

through 178 as if restated herein.

      180. Pursuant to O.C.G.A. §§ 41-2-1 and 41-2-2, Plaintiff and Proposed

Class Members have the right to bring an action to abate the nuisance caused by

Defendants’ manufacture, supply, and discharge of PFOA, PFOS, and related



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chemicals, which has caused and continues to cause contamination of their water

supply.

      181. In addition to their claims for damages, Plaintiff and Proposed Class

Members are entitled to an injunction to abate the nuisance created and maintained

by Defendants.

      182. Plaintiff and Proposed Class Members request this Court to issue an

order and decree requiring Defendants to remove their chemicals and toxins from

the water supplies of Plaintiff and Proposed Class Members and/or fund the

measures necessary to prevent these chemicals and toxins from continuing to

contaminate Plaintiff’s and Proposed Class Members’ water supply, based on the

continuing irreparable injury to them posed by the continuing nuisance, for which

there is no adequate remedy at law.

      183. Plaintiff and Proposed Class Members further request that this Court

enter an order and decree permanently enjoining Defendants from continuing the

conduct described herein, and requiring Defendants to take all steps necessary to

remove their chemicals from Plaintiff’s and Proposed Class Members’ water

supplies and properties.

      184. There is continuing irreparable injury to Plaintiff and Proposed Class

Members—and, indeed, all consumers of drinking water supplied by the RWSD

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and/or the FCWD—if an injunction does not issue, as Defendants’ PFAS in Rome’s

water supplies pose a continuing threat, and there is no adequate remedy at law.


      WHEREFORE, Plaintiff and Proposed Class Members demand trial by jury,

and respectfully request that the Court grant the following relief:

      (a)    Enter a declaratory judgment that Defendant Dalton Utilities has

violated and is in violation of the CWA, 33 U.S.C. § 1311;

      (b)    Order or Enjoin Defendant Dalton Utilities to cease and abate the

discharge of pollutants from the LAS into waters of the United States without an

NPDES permit, including the full remediation and elimination of the LAS and

construction of a wastewater treatment facility that is capable of removing all PFAS

from wastewater discharged into the Dalton POTW prior to release into the

Conasauga River or its tributaries;

      (c)    Enter an enforcement order or an injunction under the CWA ordering

Defendant Dalton Utilities to fully investigate and remediate the PFAS

contamination in and around the LAS, including in soils and sediments, as well as

the groundwater aquifer beneath the LAS;

      (d)    Enter a declaratory judgment that Defendant DWSWA has violated and

is in violation of the CWA, 33 U.S.C. §§ 1311 and 1317;


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      (e)      Order or Enjoin Defendant DWSWA to cease discharge of wastewater

containing PFAS into the Dalton POTW in violation of industrial pretreatment

requirements and standards, including Dalton Utilities’ Sewer Use Rules and

Regulations;

      (f)      Order Defendants Dalton Utilities and DWSWA to pay civil penalties

of up to fifty-five thousand eight hundred dollars ($55,800) per day for each day of

each violation of the CWA set out in this Complaint, pursuant to Sections 309(d)

and 505(a) of the CWA, 33 U.S.C. §§ 1319(d) and 1365(a);

      (g)      Award Plaintiff his costs, including reasonable attorney and expert

witness fees, as authorized by Section 505(d) of the CWA, 33 U.S.C. § 1365(d);

      (h)      That this case be certified as a Class action as proposed, pursuant to

Rule 23 of the Federal Rules of Civil Procedure;

      (i)      Enter a judgment and decree against all Defendants enjoining them

from maintaining the nuisance they have cased, created, and maintained;

      (j)      Enter a judgment and decree against all Defendants, jointly and

severally, requiring them to abate the nuisance they have caused, created, and

maintained;

      (k)      Enter a judgment and decree against all Defendants, jointly and

severally, requiring them to cease the discharge or release of any kind of PFAS

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chemicals into rivers, streams, and/or tributaries where they contaminate the

RWSD’s and FCWD’s water system and the water supplies of Plaintiff and the

Proposed Class Members;

      (l)    Enter a judgment and decree against all Defendants, jointly and

severally, requiring them to remove their PFAS chemicals from the RWSD and

FCWD water system and the water supplies of Plaintiff and the Proposed Class

Members;

      (m)    Enter a judgment and decree against all Defendants, jointly and

severally, requiring them to prevent any kind of PFAS chemicals from being

released into rivers, streams, and tributaries where they contaminate the RWSD’s

and FCWD’s water system and the water supplies of Plaintiff and the Proposed Class

Members;

      (n)    Enter a judgment against all Defendants, jointly and severally, for past,

present, and future compensatory damages in such amounts as the evidence shows

them to be justly entitled to recover, including interest and reasonable attorneys’ fees

and litigation expenses, and punitive damages, if applicable, in an amount sufficient

to punish and penalize them, and deter them from repeating their wrongful conduct,

and all costs; and




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      (o)   Award such other relief and further relief as this Court deems just,

proper, and equitable.

Respectfully submitted,
                                    Attorneys for Plaintiffs:

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                       CERTIFICATE OF COMPLIANCE
      Pursuant to Norther District of Georgia Civil Local Rule 7.1.D., the

undersigned counsel certifies that the foregoing filing is prepared in Times New

Roman 14-point font, as mandated in Local Rule 5.1.C.


                          CERTIFICATE OF SERVICE
      I certify that a copy of the foregoing SECOND AMENDED INDVIDUAL

AND CLASS ACTION COMPLAINT has been filed electronically with the Clerk

of Court by using the CM/ECF system which will automatically email all counsel of

record.

      This the 25th day of September, 2020.

                                              /s/ James S. Whitlock
                                              James S. Whitlock
                                              N.C. Bar No. 34304 (pro hac vice)




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